                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 DO NO HARM, a nonprofit corporation
 incorporated in the State of Virginia,
                                                                  No. _________________
                         Plaintiff,
         v.
                                                                       COMPLAINT
 WILLIAM LEE, in his official capacity as
 Governor of the State of Tennessee,
                         Defendant.

                                         INTRODUCTION

        1.    As the Volunteer State, Tennessee has a strong tradition of citizens offering their

unique talents to serve in the military or government. While citizens may serve on a wide array of

boards and commissions, an individual’s candidacy often depends on factors outside his or her

control, like age or race. Sadly, for more than thirty-five years, Tennessee governors have been

required to consider an individual’s race when making appointments to the state’s boards,

commissions, and committees.

        2.    The Board of Chiropractic Examiners (Chiropractic Board) and the Board of Medical

Examiners (Medical Board) are two such boards.

        3.    The Chiropractic Board regulates, licenses, and investigates chiropractors to ensure

they meet the high standards of the profession. Service on the Chiropractic Board requires that an

individual be a licensed chiropractor for at least five years, a certified chiropractic x-ray technician

for at least two years, or a certified chiropractic therapy assistant for at least two years. There is

also a seat on the Board reserved for a consumer.

        4.    The Medical Board similarly regulates, licenses, and investigates non-osteopathic

physicians, naturopaths, genetic counselors, and acupuncturists. Service on the Medical Board


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requires that an individual be either a licensed physician with at least six years of experience

practicing medicine or surgery, or a nonphysician citizen of Tennessee who is a consumer of

healthcare and who has no ownership interest or other financial interest in any healthcare facility,

business, or school.

       5.    But in addition to these requirements, Tennessee law requires the Governor to prefer

some potential board members over others solely on account of their race when making

appointments to the Boards.

       6.    Such blatant racial discrimination against individuals who could sit on Tennessee’s

Chiropractic Board or Medical Board serves no legitimate government purpose. It is demeaning,

patronizing, un-American, and unconstitutional.

       7.    Plaintiff Do No Harm is an organization of over 6,000 medical professionals,

students, and policymakers dedicated to eliminating racial discrimination in healthcare. It has

members who are qualified, ready, willing, and able to be appointed to the Chiropractic Board and

Medical Board. It brings this lawsuit to vindicate its members’ constitutional rights, to ensure that

every qualified individual has the equal right to serve on the Boards, and to ensure that Tennesseans

are regulated by boards that are not selected on the basis of race.

                                 JURISDICTION AND VENUE

       8.     This action arises under the Fourteenth Amendment to the United States Constitution

and 42 U.S.C. § 1983. This Court has jurisdiction over these federal claims under 28 U.S.C. § 1331

(federal question), and § 1343(a)(3) (redress for deprivation of civil rights). Declaratory relief is

authorized by the Declaratory Judgment Act, 28 U.S.C. § 2201.




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       9.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(1), because Defendant

resides in this district, and 28 U.S.C. § 1391(b)(2), because a substantial part of the events or

omissions giving rise to the claim occurred and continue to occur in this district.

                                             PARTIES

       10.    Plaintiff Do No Harm is a national nonprofit corporation headquartered in Glen

Allen, Virginia. It is a membership organization of over 6,000 medical professionals, students, and

policymakers. Its mission is to protect healthcare from a radical, divisive, and discriminatory

ideology. Do No Harm’s membership includes at least one individual who has been a licensed

chiropractor for at least five years in Tennessee, at least one individual who has been a licensed

physician for at least six years in Tennessee, and one or more individuals who meet the

requirements to be consumer members of the Medical Board.

       11.    Specifically, Do No Harm Member “A” is a licensed chiropractor in Tennessee. He

is not a member of a racial minority. Member A resides in Tennessee and has practiced chiropractic

for 15 years. Member A is actively engaged in chiropractic practice and does not practice any other

branch of the healing arts. Member A is qualified, ready, willing, and able to be appointed to the

Chiropractic Board.

       12.    Do No Harm Member “B” is a nonphysician citizen of Tennessee. Member B is not

a member of a racial minority. Member B is a consumer of healthcare, and he has no ownership

interest or other interest in any healthcare facility, business, or educational program that would

disqualify him from serving on the Medical Board. Member B is not employed by or a member of

the governing body of, nor has a financial interest in, any medical school, college, or university of

the state or of any school, college, or university in which allied health care practitioners who are




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regulated by the Medical Board receive their qualifying education. Member B is ready, willing,

and able to be appointed to the Medical Board.

       13.    Do No Harm Member “C” is a nonphysician citizen of Tennessee. Member C is not

a member of a racial minority. Member C is a consumer of healthcare, and he has no ownership

interest or other interest in any healthcare facility, business, or educational program that would

disqualify him from serving on the Medical Board. Member C is not employed by or a member of

the governing body of, nor has a financial interest in, any medical school, college, or university of

the state or of any school, college, or university in which allied health care practitioners who are

regulated by the Medical Board receive their qualifying education. Member C is ready, willing,

and able to be appointed to the Medical Board.

       14.    Defendant William Lee is the Governor of the State of Tennessee. Governor Lee is

required by Tennessee law to make all appointments to the Boards. Tenn. Code §§ 8-1-111, 63-4-

102(c) (Chiropractic Board), and 63-6-102(c) (Medical Board) require Governor Lee to consider

race when making appointments to the Boards. Governor Lee is sued in his official capacity.

                                  FACTUAL ALLEGATIONS

History of Racial Mandate for Tennessee Boards

       15.    In 1988, the Tennessee Legislature considered a bill endorsed by the American

Association of Retired Persons that directed the Governor to appoint at least one person sixty or

older to more than seventy different boards.

       16.    At the time, legislators raised concerns on whether this proposed provision was

“legal” and “constitutional.”

       17.    During the April 13, 1988, Senate hearing, state senators debated an amendment to

the bill that would tack on a racial mandate to all the delineated boards.




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       18.      Throughout the legislative discussions, there was no mention of the governmental

interest behind imposing a race-based classification for more than seventy Tennessee boards.

       19.      The legislative record contains no discussion of racial discrimination, statistics, or

any other alleged governmental interest that formed the basis for the ultimate bill that imposed a

racial mandate for appointments to more than seventy Tennessee boards.

       20.      In addition to the specifically delineated quotas for individual boards, the bill also

contained a catch-all provision which directed the Governor to “strive to ensure that at least one

(1) such citizen serving on each such board, commission, committee, or other governing or

advisory entity is . . . a member of a racial minority.” Tenn. Code § 8-1-111. This catch-all provision

is applicable to appointments made to all “boards, commissions, committees, and other governing

or advisory entities of the executive branch of state government.” Id.

The Chiropractic Board

       21.      The Chiropractic Board was created in 1923 to regulate the practice of chiropractic

in Tennessee.

       22.      To protect the health, safety, and welfare of Tennesseans, the Chiropractic Board

interprets the laws, rules, and regulations governing the practice of chiropractic in Tennessee. The

Chiropractic Board licenses qualified chiropractors, promulgates regulations, investigates

allegations of misconduct, and disciplines chiropractors that violate its rules or regulations.

       23.      The Chiropractic Board is comprised of seven members appointed by the Governor.

Five of those members must be licensed Tennessee chiropractors who have been actively engaged

in Chiropractic practice in Tennessee for at least five years. Tenn. Code § 63-4-103(a).




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       24.    When making appointments to the Chiropractic Board, the Governor must “strive to

ensure . . . that at least one (1) person serving on the board is a member of a racial minority.” Tenn.

Code § 63-4-102(c).

Current and Future Vacancies on the Chiropractic Board

       25.   There is currently one opening on the Chiropractic Board for a licensed chiropractor.

That seat became available on May 1, 2024, and currently has a holdover until a successor is

appointed by the Governor and qualifies. The Chiropractic Board’s other six members are all

Caucasian. Thus, the Governor must consider a potential board member’s race as a factor in

making his appointment decision. Specifically, when considering who to appoint to the

Chiropractic Board that is currently composed only of Caucasian members, the Governor must

give preference to candidates who are a racial minority.

       26.   In addition to the current vacancy, the Chiropractic Board is scheduled to have

vacancies open for licensed chiropractors on May 1 of 2025, 2026, 2027, and 2028.

       27.   Openings can also occur unpredictably in the event of a resignation, removal, or death

of a Board member.

       28.   The Governor makes appointments to the Board at unpredictable times.

       29.   Do No Harm Member A is qualified, willing, and able to be appointed to the

Chiropractic Board for the current chiropractor vacancy—as well as future openings—but is

disfavored for appointment on account of his race.

       30.   So long as the race-based mandate remains in place, Do No Harm Member A will not

receive equal consideration for openings on the Chiropractic Board.




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The Medical Board

       31.   The Medical Board was created in 1901 to regulate the practice of medicine in

Tennessee.

       32.    To protect the health, safety, and welfare of Tennesseans, the Medical Board

interprets the laws, rules, and regulations governing the practice of medicine and surgery in

Tennessee. The Medical Board licenses qualified non-osteopath physicians, naturopaths, genetic

counselors, and acupuncturists. The Medical Board also promulgates regulations, investigates

allegations of misconduct, and disciplines licensees that violate its rules or regulations.

       33.    The Medical Board is comprised of twelve members appointed by the Governor.

Nine of those members must be licensed Tennessee physicians who have been actively engaged in

the practice of medicine and/or surgery for at least six years, and who graduated from a medical

school “whose curriculum is substantially similar to, and whose educational standards are as high

as that of, the medical department of the University of Tennessee, as published at the time of its

extant catalogue.” Tenn. Code § 63-6-101(a)(1).

       34.    The remaining three members of the Medical Board must be “nonphysicians who

are consumers of health care and who neither own nor have any financial or other interest in any

health care facility or business or school of medicine or other allied health care practitioner

educational program and who shall represent the public at large.” Tenn. Code § 63-6-101(a)(2).

       35.    Medical Board members cannot be “employed by or be a member of the governing

body of, or have a financial interest in, any medical school, college or university of the state or of

any school, college or university in which allied health care practitioners who are under the

regulation of the board receive their qualifying education.” Tenn. Code § 63-6-101(a)(3).




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       36.    When making appointments to the Medical Board, the Governor “shall, to the extent

feasible, strive to ensure the full twelve-member board is composed of at least . . . one (1) person

who is an African-American.” Tenn. Code § 63-6-102(c).

Current and Future Vacancies on the Medical Board

       37.    There are currently at least two, and as many as four, openings on the Medical Board

for licensed physicians. Two of the open seats became available on May 1, 2024, and currently

have holdovers until successors are appointed by the Governor and qualify. Two other seats may

be vacant due to resignations. All current members of the Medical Board are Caucasian. Thus, the

Governor must consider a potential board member’s race as a factor in making his appointment

decisions. Specifically, when considering who to appoint to the Medical Board that is currently

composed only of Caucasian members, the Governor must give preference to candidates who are

African-American.

       38.    In addition to these current vacancies, the Medical Board is scheduled to have

vacancies for physician members in 2025, 2026, and 2027.

       39.    The Medical Board is also scheduled to have vacancies for consumer members open

on May 2 and July 1 of 2026, and July 1 of 2027.

       40.    Openings can also occur unpredictably in the event of a resignation, removal, or

death of a Board member.

       41.    The Governor makes appointments to the Board at unpredictable times.

       42.    Do No Harm Member B is qualified, willing, and able to be appointed to the Medical

Board for a future consumer vacancy, but he is disfavored for appointment on account of his race.

       43.    Do No Harm Member C is qualified, willing, and able to be appointed to the Medical

Board for a future consumer vacancy, but he is disfavored for appointment on account of his race.




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         44.    So long as the race-based quota remains in place, Do No Harm Members B and C

will not receive equal consideration for openings on the Medical Board.

                                      CLAIMS FOR RELIEF
                                       First Cause of Action
               Tenn. Code § 63-4-102(c) Violates the Equal Protection Clause of the
                    Fourteenth Amendment to the United States Constitution

         45.    Plaintiff hereby realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 44.

         46.    An actual and substantial controversy exists between Plaintiff, its members, and

Defendant. Plaintiff’s members have the right to seek appointment to the Chiropractic Board free

from consideration of their race.

         47.    Under the Fourteenth Amendment to the United States Constitution, “[n]o State shall

. . . deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, § 1.

         48.    Tenn. Code § 63-4-102(c) requires the Governor to consider and make decisions on

the basis of the race of potential board members when making appointments to the Chiropractic

Board.

         49.    Governmental classifications on the basis of race violate the Equal Protection Clause

unless they are narrowly tailored to a compelling governmental interest.

         50.    The racial mandate in section 63-4-102(c) does not serve a compelling government

interest.

         51.    The racial mandate in section 63-4-102(c) does not remediate any specific instances

of racial discrimination that violated the Constitution or statutes.

         52.    Even if the racial mandate in section 63-4-102(c) served a compelling government

interest, it is not narrowly tailored to remediate past, intentional discrimination.


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       53.    The racial mandate in section 63-4-102(c) stereotypes individuals on the basis of

race, treats all individuals of different races as fungible, mandates racial preferences, has no “good

faith exception,” and has no end date.

       54.    Plaintiff has no adequate remedy at law to compensate for the loss of its members’

equal protection rights and will suffer irreparable injury absent an injunction prohibiting

Defendant’s enforcement of section 63-4-102(c).

       55.    Plaintiff is therefore entitled to prospective declaratory and permanent injunctive

relief against continued enforcement of section 63-4-102(c).

                                         Second Cause of Action
             Tenn. Code § 63-6-102(c) Violates the Equal Protection Clause of the
                  Fourteenth Amendment to the United States Constitution

       56.    Plaintiff hereby realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 44.

       57.    An actual and substantial controversy exists between Plaintiff, its members, and

Defendant. Plaintiff’s members have the right to seek appointment to the Medical Board free from

consideration of their race.

       58.    Under the Fourteenth Amendment to the United States Constitution, “[n]o State shall

. . . deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, § 1.

       59.    Tenn. Code § 63-6-102(c) requires the Governor to consider and make decisions on

the basis of the race of potential board members when making appointments to the Medical Board.

       60.    Governmental classifications on the basis of race violate the Equal Protection Clause

unless they are narrowly tailored to a compelling governmental interest.




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        61.   The racial mandate in section 63-6-102(c) does not serve a compelling government

interest.

        62.   The racial mandate in section 63-6-102(c) does not remediate any specific instances

of racial discrimination that violated the Constitution or statutes.

        63.   Even if the racial mandate in section 63-6-102(c) served a compelling government

interest, it is not narrowly tailored to remediate past, intentional discrimination.

        64.   The racial mandate in section 63-6-102(c) stereotypes individuals on the basis of

race, treats all individuals of different races as fungible, mandates racial quotas, requires racial

balancing, has no “good faith exception,” and has no end date.

        65.   Plaintiff has no adequate remedy at law to compensate for the loss of its members’

equal protection rights and will suffer irreparable injury absent an injunction prohibiting

Defendant’s enforcement of section 63-6-102(c).

        66.   Plaintiff is therefore entitled to prospective declaratory and permanent injunctive

relief against continued enforcement of section 63-6-102(c).

                                           Third Cause of Action
               Tenn. Code § 8-1-111 Violates the Equal Protection Clause of the
                  Fourteenth Amendment to the United States Constitution

        67.   Plaintiff hereby realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 44.

        68.   An actual and substantial controversy exists between Plaintiff, its members, and

Defendant. Plaintiff’s members have the right to seek appointment to the Chiropractic and Medical

Boards free from consideration of their race.




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          69.   Under the Fourteenth Amendment to the United States Constitution, “[n]o State shall

. . . deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const.

amend. XIV, § 1.

          70.   Tenn. Code § 8-1-111 requires the Governor to consider and make decisions on the

basis of the race of potential board members when making appointments to Tennessee public

boards.

          71.   Governmental classifications on the basis of race violate the Equal Protection Clause

unless they are narrowly tailored to a compelling governmental interest.

          72.   The racial mandate in section 8-1-111 does not serve a compelling government

interest.

          73.   The racial mandate in section 8-1-111 does not remediate any specific instances of

racial discrimination that violated the Constitution or statutes.

          74.   Even if the racial mandate in section 8-1-111 served a compelling government

interest, it is not narrowly tailored to remediate past, intentional discrimination.

          75.   The racial mandate in section 8-1-111 stereotypes individuals on the basis of race,

treats all individuals of different races as fungible, mandates racial preferences, requires racial

balancing, has no “good faith exception,” and has no end date.

          76.   Plaintiff has no adequate remedy at law to compensate for the loss of its members’

equal protection rights and will suffer irreparable injury absent an injunction prohibiting

Defendant’s enforcement of section 8-1-111.

          77.   Plaintiff is therefore entitled to prospective declaratory and permanent injunctive

relief against continued enforcement of section 8-1-111.




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                               REQUEST FOR RELIEF

    WHEREFORE, Plaintiff respectfully requests the following relief.

    1.    A declaration that the racial mandates in Tenn. Code §§ 8-1-111, 63-4-102(c), and

          63-6-102(c) violate the Equal Protection Clause of the Fourteenth Amendment to

          the United States Constitution;

    2.    A permanent prohibitory injunction forbidding Defendant and Defendant’s agents

          from enforcing, or attempting to enforce, the racial mandates in Tenn. Code §§ 8-1-

          111, 63-4-102(c), and 63-6-102(c);

    3.    An award of attorneys’ fees, costs, and expenses in this action pursuant to 42 U.S.C.

          § 1988; and

    4.    Such other relief as the Court deems just, necessary, or proper.

    DATED: November 7, 2024.
                                                        Respectfully submitted,
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